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     Federal Defender
2    MATTHEW C. BOCKMON, #161566
     Assistant Federal Defender
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     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     JIMMY LEE RIDER
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7
8                                    UNITED STATES DISTRICT COURT
9                                   EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                    )   Case No. 2:17-cr-204 MCE
                                                  )
11                           Plaintiff,           )   STIPULATION TO CONTINUE STATUS
                                                  )   CONFERENCE; SET FOR CHANGE OF PLEA
12         v.                                     )   AND TO EXCLUDE TIME; ORDER
                                                  )
13   JIMMY LEE RIDER,                             )   Date: March 15, 2018
                                                  )   Time: 10:00 a.m.
14                           Defendant.           )   Judge: Hon. Morrison C. England, Jr.
                                                  )
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             By this stipulation, defendant, Jimmy Lee Rider, now moves to vacate the status
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     conference and set the matter for change of plea on March 22, 2018 at 10:00 a.m., and to exclude
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     time between March 15, 2018 and March 22, 2018 under local code T4.
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             The reasons for the continuance is that defense requires additional time in advance of the
19
     change of plea to investigate the facts, and to conduct further legal.
20
             Counsel for defendant believes that the failure to grant the above-requested continuance
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     would deny them the reasonable time necessary for effective preparation, taking into account the
22
     exercise of due diligence.
23
             The government does not object to the continuance.
24
             Based upon the foregoing, time under the Speedy Trial Act should be excluded from
25
     March 15, 2018, through and including March 22, 2018, pursuant to 18 U.S.C. §3161 (h)(7)(A)
26
     and (B)(iv) [reasonable time to prepare] and General Order 479, Local Code T4 because it results
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     from a continuance granted by the Court at defendant’s request for continuity of counsel and
28

      Stipulation to Continue Status Conference       -1-
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1    defense preparation, on the basis of the Court’s finding that the ends of justice served by taking
2    such action outweigh the best interest of the public and the defendant in a speedy trial.
3    IT IS SO STIPULATED.
4    DATED: March 12, 2018                                 Respectfully submitted,
5
                                                           HEATHER E. WILLIAMS
6                                                          Federal Defender

7                                                          /s/ Matthew C. Bockmon
                                                           MATTHEW C. BOCKMON
8                                                          Assistant Federal Defender
9                                                          Attorney for DENNA CHAMBERS

10   DATED: March 12, 2018                                 MCGREGOR W. SCOTT
                                                           United States Attorney
11
                                                           /s/ Cameron Desmond
12
                                                           CAMERON DESMOND
13                                                         Assistant United States Attorney
                                                           Attorney for Plaintiff
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      Stipulation to Continue Status Conference      -2-
       Case 2:17-cr-00204-JAM Document 21 Filed 03/14/18 Page 3 of 3


1                                                      ORDER
2            The Court, having received, read, and considered the parties’ stipulation, and good cause
3    appearing therefrom, hereby adopts the parties’ stipulation in its entirety as its order. It
4    specifically finds the failure to grant a continuance in this case would deny defense counsel
5    reasonable time necessary for effective preparation, taking into account the exercise of due
6    diligence. The Court further finds the ends of justice are served by granting the requested
7    continuance and outweigh the best interests of the public and the defendants in a speedy trial.
8            Time from March 15, 2018, up to and including March 22, 2018, shall be excluded from
9    computation of time within which the trial of this case must be commenced under the Speedy
10   Trial Act, pursuant to 18 U.S.C. §3161(h)(7)(A) and(B)(iv) [reasonable time for defense counsel
11   to prepare] and General Order 479, (Local Code T4) [defense counsel’s preparation]. It is
12   further ordered the March 15, 2018 status conference shall be vacated and a change of plea set
13   for March 22, 2018, at 10:00 a.m.
14           IT IS SO ORDERED.
15   Dated: March 13, 2018
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      Stipulation to Continue Status Conference       -3-
